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14
                       UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
     JENNY LISETTE FLORES; et al.,           )   Case No. CV 85-4544
16                                           )
17           Plaintiffs,                     )   SECOND SUPPLEMENT TO
                                             )   DEFENDANTS’ RESPONSE TO
18                v.                         )   JUNE 25, 2020 AMICUS BRIEF
19                                           )
     WILLIAM P. BARR, Attorney               )
20   General of the United States; et al.,   )
21                                           )
             Defendants.                     )
22                                           )
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                                             )

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 1         On June 26, 2020, the Court ordered that “Defendants may respond to the
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     amicus brief [Doc. # 831] by July 2, 2020.” ECF No. 833 at ¶ 3. In accordance with
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 4   the Court’s order, on July 2, 2020, Defendants filed a response from Ms. Deane

 5   Dougherty, the Juvenile Coordinator for U.S. Immigration and Customs
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     Enforcement (“ICE”). See ECF No. 838. That response explained that “ICE has been
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 8
     reporting any positive test results to the Court in O.M.G. v. Wolf, 1:20-cv-00786-

 9   JEB (D.D.C filed March 21, 2020),” and attached the reports submitted to the
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     O.M.G. Court as of July 2, 2020. See Response of Deane Dougherty, ECF No. 838-
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     1, at 2 and attachments.

13         Defendants have continued to submit updates to that Court, and on July 8,
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     2020, Defendants supplemented their July 2, 2020 filing with a complete set of
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     reports filed in O.M.G. through July 7. 2020. Defendants also stated that they will
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17   continue to update this Court by filing any additional reports filed in O.M.G. with
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     this Court as well. Accordingly, attached hereto are additional reports filed in
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     O.M.G. through July 12, 2020, as well as Defendants’ response to the preliminary
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21   injunction motion in that case which contains additional updates regarding the ICE
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     family residential centers.
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     ///
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25   ///
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     ///
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 1
     DATED:    July 13, 2020          Respectfully submitted,
 2

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10                                    /s/ Sarah B. Fabian
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 1                               CERTIFICATE OF SERVICE
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 3
           I hereby certify that on July 13, 2020, I served the foregoing pleading and

 4   attachments on all counsel of record by means of the District Clerk’s CM/ECF
 5
     electronic filing system.
 6

 7

 8                                                /s/ Sarah B. Fabian
 9                                                SARAH B. FABIAN
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